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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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 10    LEE EDWARD PEYTON,                           Case No. CV 19-9249-VAP (KK)
 11                              Petitioner,
 12                        v.                       ORDER ACCEPTING FINDINGS
                                                    AND RECOMMENDATION OF
 13    RALPH DIAZ,                                  UNITED STATES MAGISTRATE
                                                    JUDGE
 14                              Respondent.
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 17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition for a Writ of
 18   Habeas Corpus, the records on file, and the Report and Recommendation of the
 19   United States Magistrate Judge. The Court has engaged in de novo review of those
 20   portions of the Report to which Petitioner has objected. The Court accepts the
 21   findings and recommendation of the Magistrate Judge.
 22         IT IS THEREFORE ORDERED that Judgment be entered (1) denying the
 23   Petition for a Writ of Habeas Corpus; and (2) dismissing this action with prejudice.
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 25   Dated: October 2, 2020
                                               HONORABLE VIRGINIA A. PHILLIPS
 26                                            United States District Judge
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